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                              EXHIBIT 
                                   508013233      07/17/2023
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                              PATENT ASSIGNMENT
                                              1072 COVER SHEET

Electronic Version v1 .1                                                                  EPASID:PAT8060375
Stylesheet Version v1 .2

SUBMISSION TYPE:                        NEW ASSIGNMENT
NATURE OF CONVEYANCE:                   ASSIGNMENT

 CONVEYING PARTY DATA
                                       Name                                          Execution Date
 AFIRMA CONSULTING & TECHNOLOGIES SL                                               05/19/2023


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  State/Country:           TEXAS
  Postal Code:             75670


 PROPERTY NUMBERS Total: 11
          Property Type                         Number
  Patent Number:                   8738040
  Patent Number:                   8934922
  Patent Number:                   9042910
  Patent Number:                   9119030
  Patent Number:                   9485621
  Patent Number:                   9622032
  Patent Number:                   9749793
  Patent Number:                   9906901
  Patent Number:                   10009720
  Patent Number:                   9210167
  Patent Number:                   9253639


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      508013233                                                       REEL: 064282 FRAME: 0057
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ATTORNEY DOCKET NUMBER:             AVANT      1073
NAME OF SUBMITTER:                  EDDIE ROWELL
SIGNATURE:                          /Eddie Rowell/
DATE SIGNED:                        07/17/2023
Total Attachments: 3
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source=Exhibit A and B#page3.tif




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                                         PATENTS & APPLICA'HONS
   Two (2) patent families, including any divisional., cDntinuation, continuatio11-i11-part, reissue,
   reexamir.ation, utHity model, foreign counterpart, parent or extension of any patent or application indudcd
   in this Exhibit, any patents t)r patent applications whose priority is based upon such patents and patent
   applications, and any patents that have• been .named in any tenninal disclaimer of any patent included in this
   Exhibit (Collectively referred as the "Patents'') a,..:e listed below:

                                                 PATENT LIST


          Family 1, Prioritp- Oate 2(}06/03/28
          CA      2644902          2644902                                2007/03/27        2027/03/27
          CN      101416545        101416545                              2007/03/27        2027/0'3/27
          EP      2008488          2008488           DE; ES; FR; GB; IT   2007/03/27        2027/03/27
          EP      2790433          2790433           DE; ES; FR; GB; IT   2007/03/2?        2027/03/27
          KR      101105024        20090007349                            2.007/03/27
          us      8738040          20100190S08                            2007/03/27        2030/02/1$
          us      8934922r        20140308981                             2014/-06l26       LG27/Q3/27

          us                        0140221007                            2014/04/11        2027/03/27
          U. '                    2015008733]                             2014/12/05        2.027/03/27
          us      948562:l!        ~0150289096                            201§L'.Q6/18      2027/03/27
          ~       9622032          ~0150281898                            2015/06fil        2030/04/12
          us      974-9793        20150281897                             2015/06/11        2030/04/24
          us      9906901         20150281896                             2015/06/12        2030/04/12
          us      10009720        20150281895                             2015/06/12
          family 2, Priority Date 2014/0B/11
          us      9210167          S210167                                2014/08/11        2034/08/11
          us      9253639          20160044510                            2014/08/11        2034/08/11

         Tah!e 1: ~tent Portfolio for Sale




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                                                    Exurnrr B
                             TR.ANS}"'ER DOCUMENT I~OR USPTO RECORDING


   TI1is patent assignment('\Assignment"} is entered into as of !19:hivfa '2023 (the "E:ffettive I)~te") by the
   bet,veen i\F!RJ.'Vl.A CONSlJLTINC & TECHNOLOClES S.L, a Spanish corporation .ha-ving a place of
   business at C/ Julio Palacios 13, 8£, 28029 Madrid,, SP-ain. ("Assignm·"), and Avi\NT LOCATION
                               a
   ifECIINOLOGIES LLC, Texas based entity having a prtncipaJ place of business at 104 East Houston
   Street S-uite 140 Marshall TX 75670 USA ("A!ls§gnee"), all of Assignor's 1ight, titk:,.and intert>.st.in an,d to
   the fril1ov,;L,g (coUectively, the "AS1:ligned Patent Rights"):
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